Case 2:18-cv-05390-MWF-KES Document 98 Filed 04/21/21 Page 1 of 1 Page ID #:2757



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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11    CARLTON W. HENDERSON,                       Case No. 2:18-cv-05390-MWF-KES
  12                  Petitioner,
  13           v.                                              JUDGMENT

  14    WARDEN L. MONTGOMERY, et
  15    al.,
  16                  Respondent.
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  19           Pursuant to the Court’s Order Accepting Report and Recommendation of
  20   U.S. Magistrate Judge,
  21           IT IS ADJUDGED that the Petition is denied and this action is dismissed with
  22   prejudice.
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  24   DATED: April 21, 2021                  ____________________________________
  25                                          MICHAEL W. FITZGERALD
                                              United States District Judge
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